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     William M. Simpich SB # 106672
     Attorney at Law
2    1736 Franklin Street, 10th Floor
3    Oakland, CA 94612
     Telephone (415) 542-6809
4    E-mail: bsimpich@gmail.com

5    Stephen R. Jaffe SB #49539
     The Jaffe Law Firm
6    101 California, Suite 2710
7    San Francisco, CA 94110
     Telephone: (415) 618-0100
8    E-mail: stephen.r.jaffe@jaffetriallaw.com

9
     Attorneys for Plaintiffs
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12
                                      UNITED STATES DISTRICT COURT
13
                                 NORTHERN DISTRICT OF CALIFORNIA
14

15
     VOTING RIGHTS DEFENSE PROJECT, et                 Case No. C-16-02739
16   aL,                                                                            i

                                                     DECLARAnON OF GAErELLE DOLPHIN
17                      Plaintiffs,
18
            v.
19
     ALEX PADILLA, et al.,
20
                        Defendants.
21

22
23
             I, GABRIELLE DOLPHIN, declare:
24
            1. I am a resident in the County of Alameda, California.
25
                                                                                        i


26          2. I have been trained as a poll worker and a poll worker judge in tl           County of the

27               Alameda. At a training during the last month, we went over the rocedures about

28               how to conduct the vote properly. On the issue of crossover vote is, we were given
                                DECLARATION OF GABRIELLE DOLPHIN                                            1


                                                                                        I
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         direction about whether or not to inform the NPP voter of the ri ht to request a
2        Presidential ballot. In passing, it was mentioned that if the vot   rrequested a
                                                                             I




3
         Presidential ballot, we could give it to them.
4
      3. I have been provided with no direction at any time from either tunty officials or the
5
         secretary of state about whether or not to inform the NPP voter if the right to request
6
7        a Presidential ballot.

8     4. Pages 44 and 47 are the only reference that I can find in the cler 's training manual, a

9        copy of which is attached as Exhibit I. The problem is that no lear direction was
10       provided there on p. 44 as to whether or not we request it or the .oter asks for it. At
                                                                                 !

11
         p. 47 there is no reference to requesting the voter about the cros ~ver ballot in the
12
         intake procedure regarding the ballot.
13
      5. Under the circumstances of my training, it appears that the poll            orkers in Alameda
14
15       County are free to decide for themselves whether or not to info                 the NPP voter of

16       the right to request a Presidential ballot.                                 .

17    I declare under penalty of peljury that the foregoing is true and corr ht and of my own
18    personal knowledge. Executed on May 27, 2016, in Alameda Coun              t,      California.
19


          !dA~W~
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21        GABRIELLE DOLP
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                      DEC LARA nON OF GABRIELLE DOLPHIN                                                     2
